         Case 1:10-cr-00305-LJO Document 59 Filed 06/23/11 Page 1 of 2


 1   ROGER K. LITMAN, 57634
     Attorney at Law
 2   Civic Center Square
     2300 Tulare Street, Suite 230
 3   Fresno, California 93721
     Telephone: (559) 237-6000
 4
     Attorney for Defendant, JESUS RODRIGUEZ-SALCIDO
 5
 6
                   IN THE UNITED STATES DISTRICT COURT FOR THE
 7
                           EASTERN DISTRICT OF CALIFORNIA
 8
 9
     UNITED STATES OF AMERICA,   )               CASE NO. 1:10-CR-00305-OWW
10                               )
          Plaintiff,             )
11                               )               STIPULATION AND
        v.                       )               ORDER TO
12                               )               CONTINUE STATUS CONFERENCE
     JESUS RODRIGUEZ SALCIDO,    )
13                               )
           Defendant.            )
14   ____________________________)
15         The parties hereto, by and through their respective attorneys, stipulate
16   and agree that the status conference currently scheduled for June 27, 2011, be
17   continued to July 5, 2011.
18         The continuance is necessitated because, at the time the matter was set
19   for June 27, 2011, defense counsel did not realize that he had a calendar
20   conflict.
21         The parties also agree that any delay resulting from this continuance shall
22   be excluded in the interest of justice pursuant to 18 U.S.C. §§3161(h)(1)(F),
23   3161(h)(8)(A) and 3161(h)(8)(B)(I).
24
25   DATED: June 22, 2011                /s/ Karen Escobar
                                         KAREN ESCOBAR
26                                       Assistant United States Attorney
                                         This was agreed to by Ms. Escobar
27                                       Via Telephone on June 22, 2011
28

                                             1
        Case 1:10-cr-00305-LJO Document 59 Filed 06/23/11 Page 2 of 2


 1   DATED: June 22, 2011               /s/ Roger K. Litman
                                        ROGER K. LITMAN
 2                                      Attorney for Defendant
                                        JESUS RODRIGUEZ-SALCIDO
 3
 4
 5        IT IS SO ORDERED.
 6
     Dated: June 22, 2011                   /s/ Oliver W. Wanger
 7   emm0d6                            UNITED STATES DISTRICT JUDGE
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

                                           2
